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                                                                                                   CLOSED
                                 U.S. District Court
                      Northern District of Florida (Panama City)
                CRIMINAL DOCKET FOR CASE#: 5:16-cr-00009-RH-1


                             .
Case title: USA v. MALDONADO et al                           Date Filed: 03 /16/2016

                                                             Date Tenninated : 09/ 11/2016

Assigned to: JUDGE ROBERT L
HINKLE

Defendant (1}
MIGUEL MORALES                       represented by MICHELLE K SP A VEN
MALDONADO                                           DOJ- USAO
TERMINATED: 09/11/2016                              111 N ADAMS ST
also known as                                       4THFLOOR
MIKE MORALES                                        TALLAHASSEE, FL 32301
TERMINATED: 09/11/2016                              850- 2 16- 3828
also known as                                       Email: michelle.spaven@usdoj.gov
PREEMO                                              ATTORNEY TO BE NOTICED
TERMINATED: 09/11/2016                              Designation: Public Def ender or Community
                                                    Defender Appointment

Pending Counts                                     Disposition
CONTROLLED SUBSTANCE - '                           Defendant is sentenced to 48 months BOP on
SELL, DISTRIBUTE, OR                               Counts 2 and 3 to run concurrent. Defendant placed
DISPENSE                                           on SIR for 5 years on Counts 2 and 3 to run
(2)                                                concurrent. SMA $200.00. Fine waived.
CONTROLLED SUBSTANCE -                             Defendant is sentenced to 48 months BOP on
SELL, DISTRIBUTE, OR                               Counts 2 and 3 to run concurrent. Defendant placed
DISPENSE                                           on S/R for 5 years on Counts 2 and 3 to run
(3)                                                concurrent. SMA $200.00. Fine waived.

Highest Offense Level (Opening)'
Felony

Termi nated Counts                                 Dispositi.on
CONSPIRACY TO                                                                    .     C\.t.R~S Orf\Ct.
DISTRIBUTE CONTROLLED                               DISMISSED on goverruneilil:l~fi.· !1-\\an\a
SUBSTANCE
(1)

Highest Offense Level
(Term in ated)
Felony

Complaints                                          Disposition
None


P laintiff
USA
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                                                                PANAMA CITY, FL 32401
                                                                850-785-3495
                                                                Emai l: aine.ahmed@usdoj .gov
                                                               LEAD A TTORNEY
                                                               A TTORNEY TO BE NOTICED
                                                               Designation: Retained

                                                                EDWIN F KNIGHT
                                                                US ATTORNEY - PENSACOLA FL
                                                                NORTHERN DISTRICT OF FLORIDA
                                                                21 E GARDEN ST
                                                                STE 400
                                                                PENSACOLA, FL 32502- 5675
                                                                850/444- 4000
                                                                Fax: 850- 434- 0329
                                                                Email: Edwin Kni2ht@usdoj 20v
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Retained

Date Filed     #     Docket Text
                                   .
                     INDICTMENT (PDF redacted per privacy policy) as to MIGUEL MORALES
03/ 16/2016     l
                     MALDONADO (1) count(s) 1, 2- 3, BRANDON LEE COMMANDER (2) count(s) 1,
                     2, CRYSTAL SHEREE COMMANDER (3) count(s) 1, 2. (kgc) (Entered: 03/ 17/2016)
03/ 16/2016     2 Sealed Document - Unredacted indictment (PDF sealed per privacy policy) (kgc)
                     (Entered: 03/ 17/2016)
03 / 16/2016    J.   CRIMINAL COVER SHEET by USA as to MIGUEL MORALES MALDONADO
                     (copy to US Marshal)(PDF sealed per Privacy Policy) (kgc) (Entered: 03/17/201 6)
03 /1 6/2016    Q.
                               .
                     ORDER FOB. ISSUANCE OF ARREST WARRANT as to MIGUEL MORALES
                     MALDONADO . Signed by MAGISTRATE JUDGE ELIZABETH M TIMOTHY on
                     3/1 6/1 6. (kgc) (Entered: 03/ 17/2016)
03 /1 6/2016   12 Application for Writ of Habeas Corpus ad Prosequendum as to MIGUEL MORALES
                     MALDONADO (jem) (Entered : 03/22/2016)
03 / 16/2016   13    Writ of Habeas Corpus ad Prosequendum Issued as to MIGUEL MORALES
                     MALDONADO for 3/30/20 16. Signed by MAGISTRATE JUDGE ELIZABETH M
                     TIMOTHY on 3/ 16/20 16. (jem) (Entered: 03/22/2016)
04/05/2016           Arrest of MIQUEL MORALES MALDONADO in ND/GA. (jem) (Entered:
                     04/ 11/2016)
04/ 11 /2016   2li Rule 5(c)(3) Documents Received as to MIGUEL MORALES MALDONADO fro m
                     the ND/GA (jem) (Entered: 04/1 1/2016)
04/11/2016     2.2   CJA 23 Financial Affidavit by MIGUEL MORALES MALDONADO filed in ND/GA
                     (PDF sealed per Privacy Po licy) (jem) (Entered: 04/ 11/2016)
04/25/2016     32    ARREST Warrant Returned Executed on 4/25/16 in case as to MIGUEL MORALES
                     MALDONADO . (kgc) (Entered: 04/25/2016)
04/25/2016     .ll NOTICE OF'ATTORNEY APPEARANCE: MICHELLE KATHLEEN DAFFIN
                     appearing for MIGUEL MORALES MALDONADO (DAFFIN, MICHELLE)
                     (Entered: 04/25/2016)
04/25/2016     ~     CJA 23 Finan,cial Affidavit by MIGUEL MORALES MALDONADO (PDF sealed per
                     Privacy Policy) (jem) (Entered : 04/26/2016)
04/25/2016     12 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to MIGUEL
                     MORALES MALDONADO. Signed by MAGISTRATE JUDGE LARRY
                     BODIFORD on 4/25 /20l6. (j em) (Entered: 04/26/2016)
04/25/2016     36    Minute Entry for proceedings held before MAGISTRATE JUDGE LARRY
                     BODIFORD: Initia l Appearance/Arraignment as to MIGUEL MORALES
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                   MALDONADO (1) Count 1,2- 3 held on 4/25/2016 (Court Reporter PC DCR 2016)
                   (Attachments:# l Judge's Checklist) (jem) (Entered: 04/26/2016)
04/25/2016    TI ORDER SETTING TRIAL AND OTHER PRE- TRIAL MATTERS as to MIGUEL
                   MORALES MALDONADO . Jury Trial set for 5/16/2016 08:15 AM in U.S.
                   Courthouse Panama City before JUDGE ROB ERT L HINKLE. Signed by
                   MAG ISTRATE JUDGE LARRY BODIFORD on 4/25/2016. (jem) (Entered:
                   04/26/2016)
05/05/2016    12 First MOTION to Continue Trial Unopposed by MIGUEL MORALES
                   MALDONADO. (DAFFIN, MICHELLE) (Entered: 05/05/2016)
05/08/2016    40   ORDER RESCHEDULING THE TRIAL FOR JUNE 20,2016 entered as to MIGUEL
                   MORALES MALDONADO. The defe ndant's unopposed motion to continue, ECF No.
                   12 , is GRANTED . The clerk must re- notice the trial for June 20, 20 16. Signed by
                   JUDGE ROBERT L HINKLE on 5/8/2016. (jem) (Entered: 05/09/2016)
05 /13/2016   52   NOTICE OF RESCHEDULED HEARING as to MIGUEL MORALES
                   MALDONADO: Jury Trial reset for 6/20/2016 08:15 AM in U.S. Courthouse Panama
                   City before JUDGE ROBERT L HINKLE.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as, a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Elizabeth Lawrence at 850-521- 3501 in the Clerk's Office at least one week
                   prior to the hearing (or as soon as possible) so arrangements can be made.
                                .
                   s!Elizabeth Lawrence
                   Courtroom Deputy Clerk (erl) (Entered: 05/13/2016)
05 /31/2016   53   NOTICE OF HEARING as to MIGUEL MORALES MALDONADO: Jury Selection
                   and Jury Trial set for 6/27/2016 08 :15 AM CDT in U.S. Courthouse Panama City
                   before JUDGE ROBERT L HINKLE.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires s.pecial accommodation, such as, a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact Elizaoeth Lawrence at 850- 521 - 3501 in the Clerk's Office at least one week
                   prior to the hearing (or as soon as possible) so arrangements can be made.

                   s/Elizabeth Lawrence
                   Courtroom Deputy Clerk (er!) (Entered: 05/31 /2016)
06/ 18/2016   21 First MOTION to Suppress by MIGUEL MORALES MALDONADO. (DAFFIN,
                   MICHELLE) (Entered: 06/ 18/2016)
06/18/2016    i i First MOTION in Limine by MIGUEL MORALES MALDONADO. (DAFFIN,
                   MICHELLE} (Entered: 06/18/2016)
06/20/2016    56   NOTICE OF HEARING as to MIGUEL MORALES MALDONADO: Hearing on
                   motion to suppress and motion in limine set for 6/24/2016 9:00 AM CDT in U.S.
                   Courthouse Panama City before JUDGE ROBERT L HINKLE.

                   NOTE: If you or any party, witness or attorney in this matter has a disability that
                   requires special accommodation, such as, a hearing impairment that requires a sign
                   language interpreter or a wheelchair restriction that requires ramp access, please
                   contact E(izabeth Lawrence at 850- 521-3501 in the Clerk's Office at least one week
                                .
                   prior to the hearing (or as soon as possible) so arrangements can be made.

                   sl Sherrve Stephens
                   Judicial Assistant (sms). (Entered : 06/20/2016)
06/21/2016    u    RESPONSE by USA as to MIGUEL MORALES MALDONADO re i i First
                   MOTION in Limine (Attachments: # l Attachment A,# 2. Attachment B) (KNIGHT,
                   EDWIN) (Entered: 06/21/2016)
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06/21/2016    .5.B. RESPONSE by USA as to MIGUEL MORALES MALDONADO re i1. First
                      MOTION to Suppress (Attachments:# l Attachment A,# 2. Attachment B, #        .3.
                      Attachment C) (KNIGHT, EDWIN) (Entered: 06/21/2016)
06/24/2016    59      PLEA AGREEMENT as to MIGUEL MORALES MALDONADO (kgc) (Entered:
                      06/24/2016)
06/24/2016    60      Sealed Document (kgc) (Entered: 06/24/2016)
                                   '
06/24/2016    fil     ST A TEMENT OF FACTS by USA and MIGUEL MORALES MALDONADO filed
                      in support of 59 Plea Agreement (kgc) (Entered: 06/24/2016)
06/24/2016    62      Minute Entry for proceedings held before JUDGE ROBERT L HINKLE: Change of
                      Plea Hearing held on 6/24/2016. Plea entered by MIGUEL MORALES
                      MALDONADO (1) Guilty Counts 2- 3; adjudicated guilty counts 2, 3. Defendant
                      remains in custody pending sentencing. Sentencing set for 9/15/2016@ 11:00 A.M.
                      (Court Reporter Judy Gagnon) (kgc) (Entered: 06/24/2016)
06/24/2016    63      DISMISSAL OF COUNT 1 on Government Motion as to MIGUEL MORALES

06/24/2016
                                       .
                      MALDONADO. (kgc) (Entered: 06/24/2016)
                      Plea Agreement Accepted as to MIGUEL MORALES MALDONADO (kgc) (Entered:
                      06/24/2016)
07/05/2016    64      NOTICE OF HEARING as to MIGUEL MORALES MALDONADO: Sentencing set
                      for 9/15/201611:00 AM CDT in U.S. Courthouse Panama City before JUDGE
                      ROBERT L HINKLE.

                      NOTE: Ifyou or any party, witness or attorney in this matter has a disability that
                      requires special accommodation, such as, a hearing impairment that requires a sign
                      language interpreter or a wheelchair restriction that requires ramp access, please
                      contact Elizabeth Lawrence at 850- 521 - 3501 in the Clerk's Office at least one week
                      prior to the hearing (or as soon as possible) so arrangements can be made.

                      s./ Elizab.e.lb. Lawre.nc.e. Cerl/ (Eu.le.re.d..; QZIQJ.l..201 ~!
07/29/2016    67      NOTICE OF RESCHEDULED HEARING as to MIGUEL MORALES
                      MALDONADO: Sentencing reset for 9/2/2016 10:00 AM CDT in U.S . Courthouse
                      Panama City before JUDGE ROBERT L HINKLE.

                      NOTE: Ifxou or any party, witness or attorney in this matter has a disability that
                      requires spec,jal accommodation, such as, a hearing impairment that requires a sign
                      language interpreter or a wheelchair restriction that requires ramp access, please
                      contact Elizabeth Lawrence at 850- 521 - 3501 in the Clerk's Office at least one week
                      prior to the hearing (or as soon as possible) so arrangements can be made.

                      sl Elizabeth Lawrence
                      Courtroom Deputy Clerk (erl) (Entered: 07/29/2016)
08/03/2016    ll DRAFT PRESENTENCE INVESTIGATION REPORT as to MIGUEL MORALES
                      MALDO~ADO . E- copies made available to selected parties. Responses to the Draft

08/25/2016    .8.1.
                                       .
                      Report are·due by 8/17/2016. (LL) (Entered: 08/03/2016)
                      FINAL PRESENTENCE INVESTIGATION REPORT as to MIGUEL MORALES
                      MALDONADO. E- copies made available to selected parties. (LL) (Entered:
                      08/25/2016)
08/31 /2016   85      NOTICE OF RESCHEDULED HEARING as to MIGUEL MORALES
                      MALDONADO: Sentencing reset for 9/6/2016 10:00 AM CDT in U.S. Courthouse
                      Panama City before JUDGE ROBERT L HINKLE.

                      NOTE: If.you or any party, witness or attorney in this matter has a disability that
                      requires special accommodation, such as, a hearing impairment that requires a sign
                      language interpreter or a wheelchair restriction that requires ramp access, please
                      contact Elizabeth Lawrence at 850- 521 - 3501 in the Clerk's Office at least one week
                      prior to the hearing (or as soon as possible) so arrangements can be made.
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                    s/ Elizabeth Lawrence

09/06/2016    86
                                .
                    Courtroom Deputy Clerk (erl) (Entered: 08/31 /2016)
                    Minute Entry for proceedings held before JUDGE ROBERT L HINKLE:Sentencing
                    held on 9/6/2016 for MIGUEL MORALES MALDONADO (1), Count(s) 1,
                    DISMISSED on government motion; Count(s) 2- 3, Defendant is sentenced to 48
                    months BOP on Counts 2 and 3 to run concurrent. Defendant placed on S/R for 5 years
                    on Counts 2 and 3 to run concurrent. SMA $200.00. Fine waived. (Court Reporter
                    Julie Wycoff) (erl) (Entered : 09/06/2016)
09/ 11/2016   87    JUDGMENT TN A CRIMINAL CASE as to MIGUEL MORALES MALDONADO
                    (1), Count(s) 1: DISMISSED on government motion; Count(s) 2- 3: Defendant is
                    sentenced to 48 months BOP on Counts 2 and 3 to run concurrent. Defendant placed .
                    on SIR for 5 years on Counts 2 and 3 to run concurrent. SMA $200.00 . Fine waived.
                    Signed by JUDGE ROBERT L HINKLE on 9/ 11/16. (kgc) (Entered: 09/ 12/2016)
09/ 11/2016   .8..8. STATEMENT OF REASONS (Sealed) as to MIGUEL MORALES MALDONADO .
                    Cop ies to be di stributed to attorney for defendant, USAO, and USPO only. Signed by
                    JUDGE ROBERT L HINKLE on 9/1 1/16. (kgc) (Entered: 09/ 12/2016)
04/22/2022    127   Supervised Release Jurisdiction Transferred to Northern District of Georgia ( case #
                    unknown) as to MIGUEL MORALES MALDONADO. Signed by JUDGE ROB ERT
                    L HINKLE on 3/23 /2022 and by JUDGE MICHAEL L BROWN on 4/22/2022. (kgc)
                    (Entered : 04/27/2022)
04/27/2022    128   Letter from FL/ND to GA/ND transferring certified copies of transfer documents as to
                    MIGUEL MORALES MALDONACO (kgc) (Entered: 04/27/2022)
